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14-cv-9662 (JSR)

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In re: PETROBRAS SECURITIES :
LITIGATION : OPINION AND ORDER

 

JED S. RAKOFF, U.S.D.J.

Cornell University moves the Court to intervene in the
securities fraud class action against Petréleo Brasiliero S.A.
(Petrobras) and for an order under 28 U.S.C. § 1782 authorizing
discovery for use in a foreign proceeding. Alternatively,
Cornell moves the court for an order unsealing judicial
documents. For the following reasons, the Court denies Cornell's
motion to order discovery under § 1782 and finds it unnecessary
to decide the motion to intervene, but grants in substantial
part Cornell’s motion to unseal documents.

BACKGROUND

Petitioner Cornell University is a member of the class of
plaintiffs suing Petrobras in the Southern District of New York
over allegations that Petrobras violated U.S. securities laws by
making materially misleading statements in connection with the
sale of American Depository Receipts (ADRs) on the New York
Stock Exchange. Pet’r’s Mem. of Law at 1, ECF No. 922. On July
2, 2018, this Court entered a final judgment approving a

settlement in this class action. ECF No. 838.

 
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In addition to its ADRs, Cornell also purchased other
Petrobras securities that trade on a Sao Paolo stock exchange
called the Bovespa. Pet’r’s Mem. of Law at 1. On July 30, 2015,
this Court dismissed class members’ claims arising from
securities purchased on the Bovespa, holding that an arbitration
clause in Petrobras’ bylaws mandated that these claims be
arbitrated in Brazil. 116 F. Supp. 3d 368 (S.D.N.Y. 2015).

Cornell is now proceeding against Petrobras before the
Bovespa’s Market Arbitration Chamber (the CAM), alleging that
the same fraudulent misstatements underlying the U.S. class
action also caused Cornell to incur losses on the Petrobras
securities that Cornell purchased on the Bovespa. Pet’r’s Mem.
of Law at 1. Cornell believes that certain documents Petrobras
produced during discovery in the U.S. action will strengthen its
case before the CAM. But since the documents Cornell seeks were
filed under seal pursuant to a protective order dated September
1, 2015, ECF No. 206, Cornell now moves this Court to grant
access to those documents for use in the CAM arbitration
proceeding. Cornell presents two alternative legal avenues
through which this Court could grant it access to the documents
it seeks: an order compelling discovery for use in a foreign
proceeding under 28 U.S.C. § 1782, or an order unsealing the
documents.

DISCUSSION

 
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For the reasons below, the Court denies Cornell’s motion under
28 U.S.C. § 1782 and grants in part Cornell’s motion for an
order unsealing judicial documents.
I. Motion for an Order Under 28 U.S.C. § 1782 Authorizing
Discovery for Use in a Foreign Proceeding
A. Legal Framework
28 U.S.C. § 1782(a) authorizes “the district court of the
district in which a person resides or is found [to] order him to
give his testimony or statement or to produce a document or
other thing for use in a proceeding in a foreign or
international tribunal . . . .” 28 U.S.C. § 1782(a) (2018).
Either the foreign tribunal itself or “any interested person”
may move the court to compel discovery. Id. +
A district court’s power under § 1782 is discretionary. The
statute “authorizes, but does not require, a federal district
court” to compel the discovery that the petitioner requests.

Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 255

 

 

1 “fIJn an abundance of caution,” Cornell also moves the Court to
intervene in the U.S. class action. Pet’r’s Mem. of Law at 3. It
is not clear, however, what the legal significance of
intervention would be here. Because “any interested person” may
move a court to compel discovery under § 1782, district courts
may, and routinely do, grant § 1782 motions without formal
intervention. See, e.g., In re Gushlak, No. 11 MC 218, 2012 WL
1514824, at *3 n.4 (E.D.N.Y. Apr. 30, 2012) (“[C]lourts routinely
grant § 1782 applications ex parte... .”). Whether Cornell
intervenes in the class action is, accordingly, irrelevant to
its § 1782 motion, and the Court therefore declines to consider
Cornell’s motion to intervene in this context.

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(2004). Before deciding whether to exercise this discretion,
however, the district court must first conclude that the
petition satisfies three mandatory requirements found in the
language of the statute: first, the person from whom the
applicant seeks to compel discovery must “reside[] or [be]
found” in the district in which the court sits; second, the
discovery must be “for use in a foreign proceeding before a
foreign or international tribunal” (alteration omitted); and
third, the moving party must be the foreign or international
tribunal itself or “any interested person.” 28 U.S.C. § 1782(a);
Mees v. Buiter, 793 F.3d 291, 297 (2d Cir. 2015). Only after
finding that the motion satisfies these three requirements may
the court proceed to its discretionary analysis.* Mees, 793 F.3d
at 297.

Cornell’s motion fails to satisfy the first and second

requirements. Petrobras is not “found” in the Southern District

 

2 In Intel, the Supreme Court enumerated four factors that the
district court must weigh when deciding whether to exercise its
discretion to compel discovery under the statute: first, whether
the party from whom the petitioner seeks discovery is a
participant in the foreign proceeding; second, “the nature of
the foreign tribunal, the character of the proceedings underway
abroad, and the receptivity of the foreign government or the
court or agency abroad to U.S. federal-court judicial
assistance;” third, whether the motion “conceals an attempt to
circumvent foreign proof-gathering restrictions or other
policies of a foreign country or the United States;” and fourth,
whether the discovery request is “unduly intrusive or
burdensome.” Intel, 542 U.S. at 264-65.

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of New York, and the CAM is not a “foreign or international
tribunal.”3 The motion is therefore denied.
B. Petrobras is not “Found” in the District

Petrobras argues that § 1782's “resides or is found”
language means that a district court must have personal
jurisdiction over the party from whom the petitioner seeks
discovery. Petrobras reasons that — because it is a foreign
corporation that does not maintain its principal place of
business in New York — this Court lacks general personal

jurisdiction under Daimler AG v. Bauman, 571 U.S. 117 (2014),

 

and BNSF Railway Co. v. Tyrrell, 137 S. Ct. 1549 (2017). Opp’n
Mem. of Law at 6-8, ECF No. 930. Further, Petrobras argues, this
Court lacks specific personal jurisdiction with respect to the
claims in the CAM arbitration because those claims arise from
securities sold in Brazil. Opp’n Mem. of Law at 7 n.9; Surreply

Mem. at 3, ECF No. 939.4 Cornell’s position seems to be that the

 

3 The parties agree that Cornell satisfies the third statutory
requirement because Cornell is an “interested person” in the CAM
arbitration.

4 Petrobras also argues that the “resides or is found” language
means that the documents that the § 1782 petitioner seeks must
be located inside the United States, Opp’n Mem. of Law at 8-9,
and that the documents at issue here are in Brazil. Since this
Court holds for Petrobras on the personal jurisdiction issue, it
is not necessary to address this argument in detail. It is worth
noting, however, that courts within this District have split on
the issue. This Court has held that § 1782 does not authorize
district courts to compel parties to produce documents located
outside the United States, In re Godfrey, 526 F. Supp. 2d 417,

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bar for being “found” in a district for the purposes of § 1782
is much lower than the bar for general personal jurisdiction
under Daimler, see Pet’r’s Mem. of Law at 5 (arguing that the
company is found New York because it has offices and does
business in Manhattan); or alternatively that this Court has
specific or pendant personal jurisdiction over Petrobras. Reply
Mem. at 2-3, ECF No. 936.

The threshold question for this Court to decide is whether
the “resides or is found” language in § 1782 means that a court
must have personal jurisdiction over the party from whom the
movant seeks discovery. There is no binding precedent on this
question. In re Sargeant, 278 F. Supp. 3d 814, 820 (S.D.N.Y.
2017) (“It is unclear whether § 1782's statutory prerequisite

that a person or entity reside or be found in a district is

 

423 (S.D.N.Y. 2007) (Rakoff, J.), while other courts considering
the issue more recently have decided otherwise, see, e.g., In re
Accent Delight Int’l Ltd., No. 18 MC 50, 2018 WL 2849724
(S.D.N.Y. June 11, 2018), at *3-*4; Purolite Corp. v. Hitachi
Am., Ltd., No. 17 Misc. 67, 2017 WL 1906905, at *2 (S.D.N.Y. May
9, 2017); In re Application of Kreke Immobilien KG, No. 13 Misc.
110, 2013 WL 5966916, at *4 (S.D.N.Y. Nov. 8, 2013). Insofar as
legal arguments about whether the statute requires personal
jurisdiction and whether the statute reaches documents located
outside the United States both reflect a policy concern about
“turn[ing] American courts into clearing houses for requests for
information from courts and litigants all over the world,” In re
Godfrey, 526 F. Supp. 2d at 423 (internal quotation marks
omitted), it may be the case that in the post-Daimler context,
personal jurisdiction provides the simpler doctrinal tool to
address this concern.

 

 

 

 
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coextensive with whether a court has personal jurisdiction over
that person or entity.”).

Nevertheless, the great weight of authority suggests that
“[a]t minimum . . . compelling an entity to provide discovery
under § 1782 must comport with constitutional due process.” Id.
Indeed, most recent opinions in the Southern District of New

York on this question have held as much. Id.; In re Del Valle

 

Ruiz, 342 F. Supp. 3d 448, 453 (S.D.N.Y. 2018) (“Given that
constitutional due process principles apply to an applicant’s
request for discovery, it follows that that district courts
should employ the same analysis as when determining whether
personal jurisdiction is present over a person.”); In re
Fornaciari, No. 17 MC 521, 2018 WL 679884, at *2 (S.D.N.Y. Jan.
29, 2018) (“Although § 1782 does not define what it means to
reside or be found in a district, courts in this District —
including this one — have held that at minimum, compelling an
entity to provide discovery under § 1782 must comport with
constitutional due process.”) (internal quotation marks

omitted); Austl. and N.Z. Banking Grp. Ltd. v. APR Energy

 

Holding Ltd., No. 17 MC 216, 2017 WL 3841874, at *3 (S.D.N.Y.
Sept. 1, 2017) (“Regardless of what section 1782 requires, the
Constitution’s due process protections apply.”); see also In re
Godfrey, 326 F. Supp. 2d 417, 422 (S.D.N.Y. 2007) (Rakoff, J.)

(“[I]nsofar as the word ‘found’ is applied to corporations, ‘it

 
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may safely be regarded as referring to judicial precedents that
equate systematic and continuous local activities with

presence.’” (citations omitted)); In re Application of Thai-Lao

 

Lignite (Thailand) Co., 821 F. Supp. 2d 289, 294 n.4 (D.D.C.
2011) (noting that the questions of whether a district court has
personal jurisdiction over a person and whether that person is
found in the district for purposes of § 1782 “tat minimum
overlap considerably”).

It is true that the decisions of two Courts in this
District could be read to suggest that a foreign person was
“found” in the district for purposes of § 1782 based on business
activities in New York that would not confer general personal

jurisdiction under Daimler and BNSF. See Ayyash v. Crowe Horwath

 

LLP, No. 17 MC 482, 2018 WL 1871087, at *2 (S.D.N.Y. Apr. 17,
2018) (stating that respondents “can be found in this district

because they have offices here”); In re Ex Parte Application of

 

Kleimar N.V., 220 F. Supp. 3d 517, 521 (S.D.N.Y. 2016)
(respondent “found in” the district because it trades ADRs on
the NYSE and has a wholly-owned subsidiary doing business in the
United States). It appears, however, that the parties in these
cases never raised arguments about personal jurisdiction, and in

any event, the opinions do not discuss the issue, so they are of

little weight as far as this issue is concerned.

 
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Additionally, the Second Circuit’s opinion in Gucci America
v. Weixing Li, 768 F.3d 122 (2d Cir. 2014), supports the
proposition that district courts should read the “resides or is
found” language in § 1782 to incorporate a personal jurisdiction
requirement. In Gucci America, the Second Circuit held that the
requirement of personal jurisdiction applies to at least some
discovery requests. Gucci America arose out of an intellectual
property dispute by makers of luxury bags against
counterfeiters. Seeking evidence for their claim, the bag
manufacturers subpoenaed documents concerning the defendants
from their bank, the Bank of China, which operated a branch in
New York City but was incorporated and had its principal place
of business in China. The Bank produced the documents located in
the New York branch but refused to produce the documents held in
China, arguing that the Court lacked general personal
jurisdiction over the bank and thus could not compel it to
produce those documents. The appellate court held that “fal
district court .. . must have personal jurisdiction over a
nonparty in order to compel it to comply with a valid discovery
request under Federal Rule of Civil Procedure 45,” and remanded
for the district court to consider whether personal jurisdiction
existed. Id. at 141. Although Gucci America discusses a subpoena
for documents under FRCP 45, not a motion to compel discovery

under 28 U.S.C. § 1782, nothing in the decision’s reasoning

 
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suggests that it would not also apply, mutatis mutandis, to a
court’s authority to compel discovery in other contexts as well.®

This Court therefore concludes that it should apply a
personal jurisdiction analysis to determine whether Petrobras is
“found” in the district for the purposes of the § 1782 motion.

General Personal Jurisdiction

The parties do not argue that this Court has general
personal jurisdiction over Petrobras, and the Court clearly does
not. A corporation is subject to the general personal
jurisdiction of the courts in the states of its incorporation

and its principal place of business. Daimler AG v. Bauman, 571

 

U.S. 117, 137-38 (2014). In an “exceptional case,” a corporation

 

5 The Second Circuit’s opinion in In re Edelman, 295 F.3d 171 (2d
Cir. 2002), is not inconsistent with this principle. In Edelman,
the Court held that an individual who did not live in the
district was “found in” the district for the purposes of § 1782
because he was served with the subpoena while physically present
in the district. 295 F.3d at 179. The Edelman Court’s reasoning
relies on the idea of “tag jurisdiction,” id., described by the
Supreme Court in Burnham v. Superior Court of California, 495
U.S. 604 (1990). But after Daimler, this view of personal
jurisdiction seems to apply only to individuals, rather than
corporations. See Brown v. Lockheed Martin Corp., 814 F.3d 619
(2d Cir. 2016) (holding that Connecticut’s business registration
statute that required foreign corporations to appoint an in-
state agent for service of process did not constitute consent by
foreign corporations to the personal jurisdiction of
Connecticut’s courts). Since the § 1782 motion at issue in
Edelman sought discovery from an individual, a French citizen,
who was served with a subpoena for his deposition while he was
in New York City, 295 F.3d at 174, the standard for personal
jurisdiction in that case is different from the one here, which
concerns a foreign corporation.

 

 

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could become subject to the personal jurisdiction of the courts
in an additional state if the corporation’s contacts with that
State are “so continuous and systematic as to render [it]
essentially at home,” Daimler, 571 U.S. at 138-39 & n.19
(quoting Goodyear Dunlop Tires Operations, S.A. v. Brown, 564
U.S. 915, 919 (2011) (internal quotation marks omitted)). But
even extensive business contacts such as significant physical
infrastructure and thousands of employees in a particular state

do not constitute such an exceptional case. See BNSF Ry. Co. v.

 

Tyrrell, 137 S. Ct. 1549 (2017).

Petrobras is incorporated and maintains its principal place
of business in Brazil. While the company maintained an office in
Manhattan at the time Cornell filed its motion, Reply Mem. at 2,
and sells ADRs on the New York Stock Exchange, these business
contacts are far from sufficient to subject Petrobras to the
general personal jurisdiction of courts in New York.

Specific Personal Jurisdiction

 

A closer question is whether this Court has specific
personal jurisdiction over Petrobras with respect to this
motion. Cornell argues that the Court does, because this Court
undoubtedly has personal jurisdiction in the underlying
securities fraud class action, and because Cornell “simply seeks
access to the discovery that is already conducted in this case.”

Reply Mem. at 2. Petrobras retorts that “{p]lersonal jurisdiction

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is determined claim by claim,” Surreply Mem. at 3, and so even
if this Court has personal jurisdiction over Petrobras vis-a-vis
the U.S. class action (alleging fraud in connection with
securities sold on the NYSE), this Court does not necessarily
have personal jurisdiction over Petrobras vis-a-vis the § 1782
motion (which arises out of the CAM arbitration, alleging fraud
in connection with securities sold in Brazil).

Courts in the Second Circuit employ a two-step analysis to
determine whether they have specific jurisdiction over a claim.
Gucci Am., 768 F.3d 122, 136 (2d Cir. 2014). “First, the court
must decide if the defendant has ‘purposefully directed his
activities at... the forum and the litigation .. . arise|[s]
out of or relate[s] to those activities.’” Id. (quoting Burger

King Corp. v. Rudzewicz, 471 U.S. 462, 472 (1985). Second, “once

 

the court has established these minimum contacts, it
‘determine[s] whether the assertion of personal jurisdiction
would comport with fair play and substantial justice.’” Id.
(quoting Burger King, 471 U.S. at 476).

The relevant facts here presented are somewhat different
from the cases cited above in which courts in this District held
that they lacked personal jurisdiction over a § 1782 respondent.
Neither the discovery request in In re Sargeant, 278 F. Supp. 3d

814, nor that in In re Del Valle Ruiz, 342 F. Supp. 3d 448, for

 

example, involved foreign corporations that were already the

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defendants in a related U.S. action, as well as documents that
the corporation had already produced in that action.

Nevertheless, Petrobras has the better argument. Cornell
seeks discovery under § 1782 for use in the CAM arbitration,
which alleges misconduct by Petrobras that occurred entirely in
Brazil. The test for personal jurisdiction therefore fails at
the first step, because Petrobras did not “purposefully direct []
[its] activities” relevant to the CAM arbitration at the forum.
Gucci Am., 768 F.3d at 136.

Cornell makes several additional arguments, but all are
unpersuasSive. First, Cornell cites In re Fornaciari, No. 17 MC
921, 2018 WL 679884, at *2 (S.D.N.Y. Jan. 29, 2018) for the
proposition that due process is satisfied when the party subject
to discovery under § 1782 “ha[s] sufficient contacts with the
forum that relate to the requested discovery or from which the
discovery order arises.” Pet’r’s Mem. of Law at 2. But this does
not help Cornell’s case. Petrobras’s conduct “from which the
discovery order arises” was the allegedly fraudulent sale of
securities on the Bovespa, i.e., conduct that occurred entirely
in Brazil.

Similarly, Cornell’s protest that it “is a member of the
Class and simply seeks access to the discovery that was already
conducted in this case,” Pet’r’s Mem. of Law at 2, is unhelpful

for the same reason. Petrobras produced this discovery in an

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action in which this Court has specific personal jurisdiction,
but it does not follow that the Court therefore has authority to
order Petrobras to turn over this discovery for use in a foreign
proceeding that arises from conduct entirely outside the forum.

Next, Cornell cites Dysart v. Marriott Corp., 103 F.R.D.

 

15, 18 (E.D. Pa. 1984) in which a district court in another
circuit held that “[o]nce a third-party defendant has been
properly brought within the jurisdiction of the court by an
original defendant, personal jurisdiction need not be
established independently by plaintiff.” This case would be
persuasive authority at best, but it is unpersuasive here
because it long predates the dramatic shift in the doctrines of
personal jurisdiction that culminated in Daimler and BNSF.
Finally, Cornell argues that this Court may exercise
pendant personal jurisdiction over Petrobras. Reply Mem. at 3

(quoting IUE AFL-CIO Pension Fund v. Herrmann, 9 F.3d 1049, 1056

 

(2d Cir. 1993)). But this last argument is no more persuasive
than the others. IUE AFL-CIO held that “where a federal statute
authorizes nationwide service of process, and the federal and
state claims ‘derive from a common nucleus of operative fact,’
the district court may assert personal jurisdiction over the
parties to the related state law claims even if personal
jurisdiction is not otherwise available.” Id. (quoting United

Mine Workers v. Gibbs, 383 U.S. 715, 725 (1966)). This doctrine,

 

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however, does not apply to the current fact pattern.® IVE AFL-CIO
involved a situation where a plaintiff brought related federal
and state-law claims, and the state-law claims required joinder
of additional defendants. This case says nothing about the
authority of a court under § 1782 to compel a foreign defendant
to produce discovery for use in a foreign proceeding that only
concerns its actions outside the United States.

For these reasons, this Court holds that Petrobras is not
found in the District for the purposes of § 1782.

C. The CAM is not a “Foreign or International Tribunal”

Petrobras also urges this Court to reject Cornell’s § 1782
motion on the independent ground that the CAM is not a “foreign
or international tribunal.” In Petrobras’s view, the term in the
Statute excludes arbitral bodies established by private parties.
Opp’n Mem of Law. at 9. Cornell does not dispute the fact that
the CAM is a private entity,’ but argues for a broader reading of

the statutory language. Reply Mem. at 4-5.

 

6 Petrobras also questions whether this doctrine is still good
law. Surreply Mem. at 3 & n.6. The Court declines to opine on
this question.

7 See also Decl. of Marcelo Gandelman, ECF No. 929, at q 7
(“Neither the CAM nor the Tribunal have any ties to the
Brazilian (or any other) government.”); id. at @ 10 (“No member
of the Tribunal is a government employee.”). In re Application
of Hanwei Guo for an Order to Take Discovery for Use ina
Foreign Proceeding Pursuant to 28 U.S.C. § 1782, No. 18 MC 561,
2019 WL 917076 (S.D.N.Y. Feb. 25, 2019) sets out five criteria
for courts to use to distinguish between private and state-

 

 

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Here, unlike the previous question, there is a Second

Circuit precedent directly on point. In NBC v. Bear Stearns, 165

 

F.3d 184, 191 (2d Cir. 1999), the Second Circuit held that “an
arbitral body established by private parties” was not a “foreign
tribunal” for the purposes of § 1782. NBC relied primarily on
the legislative history of § 1782, holding that Congress’s 1964
revision to the statute ~ which added the phrase “foreign or
international tribunal” in place of the earlier phrase “judicial
proceeding” to § 1782 — broadened the scope of the statute only
to include administrative proceedings as well as proceedings
before non-governmental adjudicative bodies created by
governments or by intergovernmental agreements. 165 F.3d at 188-
90.

Cornell responds, however, that the Supreme Court

effectively abrogated NBC in Intel Corp. v. Advanced Micro

 

 

Devices, Inc., 542 U.S. 241 (2004). Reply Mem. at 4-5. In dicta,
Intel quotes a 1965 law review article by Professor Hans Smit
for the proposition that “[t]he term ‘tribunal’ .. . includes
investigating magistrates, administrative and arbitral
tribunals, and quasi-judicial agencies, as well as conventional

civil, commercial, criminal, and administrative courts.” 542

 

affiliated arbitral bodies. But because Cornell and Petrobras do
not dispute this point, the Court need not consider these
factors here.

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U.S. at 258 (emphasis added). According to Cornell, the Supreme
Court’s reference to “arbitral tribunals” is enough to overturn
NBC’s holding. And indeed, Cornell has some authorities on its
Side. There have been three post-Intel cases in this District
examining the question of whether Intel overruled NBC’s holding
that a private arbitral body is not a “foreign tribunal” for the
purposes of § 1782, and two of them held that it did. In re
Application of the Children’s Inv. Fund Found. (UK), 363 F.

Supp. 3d 361, 364 (S.D.N.Y. 2019); In re Ex Parte Application of

 

Kleimar N.V., 220 F. Supp. 3d 517, 521 (S.D.N.Y. 2016). In the
most recent of these cases, however, the court held that NBC

remained good law. In re Application of Hanwei Guo for an Order

 

to Take Discovery for Use in a Foreign Proceeding Pursuant to 28
U.S.C. § 1782, No. 18 MC 561, 2019 WL 917076 (S.D.N.Y. Feb. 25,
2019) .8

Upon consideration of these conflicting cases, as well as

the arguments of the parties, this Court concludes that NBC

 

8 The Second Circuit has not revisited its holding in NBC since
Intel. The closest it got was in 2011, when a panel declined to
reach the question of whether an arbitration before the Hague
pursuant to the Bilateral Investment Treaty between the United
States and Ecuador and the United Nations Commission on
International Trade Law was a “foreign tribunal” for the
purposes of § 1782. Chevron Corp. v. Berlinger, 629 F.3d 297,
310 (2d Cir. 2011). This fact pattern would not have been
covered by NBC anyway, because the arbitral body was not
“established by private parties” and because the arbitration was
mandated by treaty, rather than chosen by the parties via a
contract. Id. at 303.

 

 

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remains good law. To begin with, the Court is doubtful that a
passing dictum in a Supreme Court opinion — taken, moreover, out
of its context? — is sufficient to abrogate an extensively-
reasoned and directly on-point Second Circuit precedent. See
Monsanto v. United States, 348 F.3d 345, 351 (2d Cir. 2003)
(stating that district courts are “required to follow” on-point
Second Circuit precedent “unless and until that case is
reconsidered by [the Second Circuit] sitting in banc (or its
equivalent) or is rejected by a later Supreme Court decision”).

More importantly, it is far from clear that the quotation
referencing arbitral tribunals in Intel even casts doubt on the
holding of NBC. Recall that NBC held that arbitral bodies
created by governments or intergovernmental agreements are
“tribunals” for the purposes of § 1782, but that arbitral bodies
created by private parties are not. 165 F.3d at 188-90. The
quote in Intel from Professor Smit’s 1965 article, 542 U.S. at
258, simply says that “arbitral tribunals” are within the scope
of § 1782, not that private arbitral tribunals are. Professor

Smit'’s explanation, therefore, is not inconsistent with NBC,

 

9 The passage in which the Smit quote appears has nothing to do
with arbitration. Rather, the Supreme Court quotes Professor
Smit to support the (uncontroversial) proposition that the 1964
revision expanded the scope of the statute and to conclude that
the European Commission — an entity created by intergovernmental
agreement — is a “foreign or international tribunal” within the
meaning of the statute. Intel, 542 U.S. at 257-58.

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because the author may only have been referring to arbitral
tribunals created by governments and intergovernmental
agreements. This is not only a plausible reading of his words,
but is in fact probably what he meant, given his other writing
on the topic. Professor Smit’s 1965 law review article that the
Supreme Court quotes in Intel was discussing the preceding
year’s addition of the term “foreign or international tribunal”
to the statute. As the Second Circuit explains in NBC, Professor
Smit wrote another law review article in 1962, two years before
Congress revised the statute, in which he expressed the view
that “an international tribunal owes both its existence and its
powers to an international agreement.” 165 F.3d at 190 (quoting

Hans Smit, Assistance Rendered by the United States in

 

Proceedings Before International Tribunals, 62 Colum. L. Rev.

 

1264, 1267 (1962)).19 When he wrote the words that the Supreme
Court would later quote, Professor Smit seems to have believed

that § 1782 did not apply to private arbitral bodies. It is

 

10 NBC goes on to note that by the 1998, Professor Smit took the
view that the term “tribunal” in § 1782 should be read to
include private arbitral bodies. 165 F.3d at 190 n.6 {citing
Hans Smit, American Assistance to Litigation in Foreign and
International Tribunals, 25 Syracuse J. Int’l L. & Com. 1, 5,
(1998)). The NBC Court, however, viewed his contemporaneous
writings as more persuasive evidence of the meaning of the 1964
statute, 165 F.3d at 190 n.6, and this Court views Professor
Smit’s 1962 writing as better evidence than his 1998 writing of
his views in 1965.

 

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implausible, then, to read the Supreme Court’s approving
quotation of him as an endorsement of the opposite view.

This Court accordingly further denies Cornell's § 1782
motion on the independent ground that NBC remains good law and
that the statutory term “foreign or international tribunal” does
not include an arbitration chamber created by private parties.

II. Motion for an Order Unsealing Judicial Documents

Cornell also moves the Court to unseal the summary judgment
papers that the parties filed under seal in this action.?}
Pet’r’s Mem. of Law at 12. For context, in September 2015, the
parties jointly submitted, and the Court approved, a protective
order in the Court’s standard form that allowed the parties to
keep confidential for purposes of this litigation certain
discovery items that one side or the other believed contained
secret or sensitive information of the kinds specified in the
order. Further to that order, in July 2016, the Court issued a
second protective order allowing the parties to file under seal
the discovery materials utilized in the summary judgment motion
practice that the parties had previously marked as confidential.

See Protective Order Dated July 1, 2016, ECF No. 685.

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11 Again, a party need not intervene to make a motion to unseal
documents, so it is not necessary to consider Cornell’s motion
to intervene here.

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However, none of this sealing was intended to be forever,
and the parties knew as much. For example, the September 2015
order, issued on consent, recited in paragraph 9 that “[a]ll
persons are hereby placed on notice that the Court is unlikely
to seal or otherwise afford confidential treatment to any
Discovery Material introduced in evidence at trial, even if such
material has previously been sealed or designated as
Confidential. The Court also retains unfettered discretion
whether or not to afford confidential treatment to any
Confidential Document or information contained in any
Confidential Document submitted to the Court in connection with
any motion, application, or proceeding that may result in an
order and/or decision by the Court.” Protective Order Dated
Sept. 2, 2015, ECF No. 206.

The Court is of the view that most of the materials covered
by the July 2016 order can now be unsealed. Since the documents
related to this Court’s ruling on summary judgment, they were
judicial documents, and there is a strong presumption in favor
of public disclosure of judicial documents. As the Second
Circuit stated only days ago, summary judgment papers are

“judicial documents” as a matter of law. Giuffre v. Maxwell, No.

 

18-2868, slip op. at 11 (2d Cir. July 3, 2019); see also, e€.g.,

Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 121 (2d Cir.

 

2006). Accordingly, the presumption in favor of public access

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attaches here. The Court’s conclusion, three years ago, that a
protective order was justified at that time is not sufficient in
itself to rebut this presumption; indeed, since most of the
documents date from several years prior to that, the conditions
that once made them commercially sensitive are in many instances
no longer relevant.

Nonetheless, a few of the documents - or, more likely, a
few sentences within a few of the documents - may still contain
“business information that might harm a litigant’s competitive

standing.” Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 5938

 

(1978); see also, e.g., New York v. Actavis, PLC, No. 14 Civ.

 

7473, 2014 WL 5353774 (S.D.N.Y. Oct. 21, 2014). In particular,
in briefing on this motion, Petrobras has satisfied this Court
that some of the sealed documents might still contain snippets
of information that even the now much-reorganized Petrobras
could reasonably claim were still commercially sensitive. See
Letter Dated July 22, 2019, ECF No. 944. Likewise, class
representatives also raised concerns about unsealing certain of
the summary judgment documents that they produced. See Response
Dated June 21, 2019, ECF No. 931.

Cornell’s motion to unseal is therefore granted in part.
Specifically, the parties must now review the sealed documents,
and, mindful of the Court’s doubt that confidentiality is still

reguired in most cases, produce to Cornell by August 15, 2019 (a)

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copies of all documents that in the view of the producing parties
can now be unsealed, (b) redacted copies of documents that can be
partially unsealed, and (c) a list of all documents that the
producing party believes must still be kept entirely under seal.
If, following such production, Cornell wishes to object to any
remaining sealings, it will notify the court in writing of its
objections by August 29, 2019, at which time the Court will review
the remaining sealings in camera. The Court will then issue a final
order of unsealing, and Cornell will then be free to use the

unsealed documents as it sees fit.

 

SO ORDERED.
Dated: New York, NY Qpf hi ebg/
SF
July a9. 2019 JED §. RAKOFF, U.S.D.J.

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